 

Fill in this information to identify your case:

Debtor 1 Cristina Y. Arnal
Saari * —

Debtor 2

(Spouse if, filing) First Name

Middle Name

‘Middle Name

Last Name

Last Name

United States Bankruptcy Court forthe: DISTRICT OF NEW MEXICO

Case number
(if known)

Official Form 108

statement of Intention for Individuals Filing Under Chapter 7

lf you are an individual filing under chapter 7, you must fill out this form if:

M@ creditors have claims secured by your property, or

a you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list

on the form

[] Check if this is an
amended filing

12/15

lf two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must

sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,

write your name and case number (if known).

List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the

information below.

Identify the creditor and the property that is collateral

Creditors City of Santa Fe

name.

Description of House and lot located at:

property 3737 Valmora Road
Santa Fe, NM 87505

securing debt:
(fourth mortgage}

Creditors Homewise, Inc.
name:

Description of House and lot located at:

property 3737 Valmora Road
Santa Fe, NM 87505

securing debt:
d (first mortgage)

Creditors Homewise, Inc.
name.

Description of House and lot located at:

373/ Vaimora Road

Official Form 108

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What do you intend to do with the property that

secures a debt?

=a

 

 

Surrender the property.
L] Retain the property and redeem It.

 

ME Retain the property and enter into a
Reaffirmation Agreement.

LJ Retain the property and [explain]:

(] Surrender the property.
LJ Retain the property and redeem it.

MI Retain the property and enter into a
Reaffirmation Agreement.

LJ] Retain the property and [explain]:

CL Surrender the property.
(_] Retain the property and redeem it.

M@ Retain the property and enter into a
Reaffirmation Agreement.

Statement of Intention for Individuals Filing Under Chapter 7

Case 19-11747-t7. Doc5 Filed 07/30/19 Entered 07/30/19 06:46:16 Page 1 of 2

Did you Claim the property
as exempt on Schedule C’?

LJ No

Mi ves

CI No

M Yes

LJ No

B Yes

page 1

Best Case Bankruptcy
Debtor 1

Cristina Y. Arnal Case number (if known)

property
securing debt:

Santa Fe, NM 87505

L] Retain the property and [explain]:
(second mortgage)

Creditor's

Homewise, Inc. LJ Surrender the property. LJ No
name: [] Retain the property and redeem it
MI Retain the Property and enter into a M Yes

Description of

property
securing debt:

House and lot located at:
3/37 Valmora Road
Santa Fe, NM 87505

(third mortgage)

Reaffirmation Agreement.
LJ Retain the property and [explain]:

Gea List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases Will the lease be assumed?

 

 

Lessor's name: [J No
Description of leased
Property: LJ Yes
Lessor's name: CL] No
Description of leased
Property: L] Yes
Lessor's name: LJ No
Description of leased
Property: L] Yes
Lessor's name: C} No
Description of leased
Property: L] Yes
Lessor's name: CL] No
Description of leased
Property: Ll Yes
Lessor's name: LJ No
Description of leased
Property: [] Yes
Lessor's name: LJ No
Description of leased
Property: LJ Yes

  

Cristina Y.

Signature of Debtor 1

OS

    
  
 

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red jiease.
f

at | have indicated my intention about an

X

Signature of Debtor 2

y property of my estate that secures a debt and any personal

Date f | ZK I] Date

Official Form 108

Statement of Intention for Individuals Filing Under Chapter 7 page 2

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Case 19-11747-t7. Doc5 Filed 07/30/19 Entered 07/30/19 06:46:16 Page 2 of 2
